Case 15-22602-RBR Doc 80 File 01 0/10 /1 8 Pape 1014
Ui\uTEo sTATF.s BANI<RUPTC\-' COURT, 301 Ti ir.n 11\1 i) isTRic' or

\.1;\,1:“..'._[] '1‘1._11'1<`-11111;11.;4'1\'
(`.llAP”lr`l'l§R§l.$rl’l.-AN (l_ndiv_idual 1\djustmcntol`_l)i‘bts)
C)l'i;;_inal l’lal§t

Amended l’lan (lndieate |st.;?,i1d. cte. /\inended. il"applieable)

|El:l:l

 

31'd l\/loclilledl’l2111 (lndicate lst. 211d. etc. l\/lodil`ied. il`app|ieablc)
l)l~ 133 OR: Ro_ss_i_ E Valdes_ __7777777777 lOlNl l)l l% l `(`JR: .l_es_i_is N l)ele? 7_ 7_ _ (,`,‘\Sl~: Nt).? 7| :'1:22.002
SSrt`: xxx-Xx~ 1069 _ SSa': .\'xx»x);-S‘_l'/`73 77 77
l. IN_§)TI(§ES
rl`o Debtors: P|ans that do not comply with local rules and judicial rulings may not be con l`n'mable. /\ll p|ans. ainend1.~1.l plan .
and modified plans shall be served upon all creditors and a certificate ot` service l`iled with 1|1ct`lerl\' pni,.u;un 11.
l,ocal Rules 2002-l t(`.)l$). 30|5~ l (l%l(?,'), and 30l5-2. l)eblor(s) must Commence plan payments \1'itl1i11311 1|11_\:.111
filing the ehapter 13 petition or Within 30 days ol`enti‘y ol` the order converting the case to chapter l3.
'l`o Creditors: Youi' rights may be affected by this plan. You must file a timely prool`ol`claim in order 10 be paid Your claim 1111:\

be reduced modified or eliminated

'l`o /-\l| l)arties; "l`he plan contains no nonstandard provisions other than those set out in paragri.lph \/lll. l`)cbtor(s) must cheek one
box on each line listed below in this section testate whether the plan includes any ol`tlie t`ollon-'in;_;:

 

 

 

n l`l 1e valuation ot"asecuied claim set out in Section lll which may ies11|i1n a [ ] lm|udcd `[mi NU[ mc[…w_d
paitial payment 01 no payment at all to the secuied cieditoi 7 7 `
Avoidance of` ajudicial lien olin nonpossessoiy 11011puichase-money sucui ity inteiest set ii { l ll|'q;|udcd ma wm immde
out in Scetion ill 7 7777 ____7_7777_777777777 7 777_7_77 7777 777_7 7 7777 7 77 7 771 ' r
l\lon_standaid pto_visions set out 7ii717 Section Vlll |Hl lnc|udud ll l hot includm

ll, _PL_AN_ PAY_|VI]LNTS l F._l\_lG_T}_l_ ()l~`_ l’li/_'\_N /§N_l')_ I)FBTORLS) A'l"l`___()l_{_Nl_" Y' S_ F__F. _I_i

A. ly\/[,()BI]§II§Y_]_?_I,;\_N_ 13 /\X__l§’l_l".l\"l`: 'l`|1iS Plan pays for the benefit ol`the Crcditors the amounts listed below including lrus'.ee`s
fees ol` |0%. beginning 30 days l"rom the l`i|ing/conversion date. ln the event the trustee does not retain the full |0“’,1..1111}" unused
amount will be paid to unsecured nonprioi'it)= creditors pro-rata under the plan:

 

l. §_l__|_“f3_,4;l__________7_”7 l`ori11oi1tl1s77777l7 to 3_9_
2. _5§7-¢}.0|73.7759 77____“_ __ lot months __7/_1__0_ to___=l__(_)_ 7 '.
3. _____ _____________ l`or 1110111|157 7 110__77_7 ;
B. 1)1: m 0_11(51' AT10RNFY s 111 r.: [777_77l 1\'071\11 m i>Ro aoNo
1001 F¢t 7¢777$76_0111)1)07 _7_7 reel i>aid'i:: 10111)1) 00 77 monte nut :_sn)oouo m
l’ayable 7 $102. 56 _ fi11ontl1(Mont|1s l_ 7 to 397 )

A|lowed tees under l.R 20|(1-|(13)(2)111‘e i1c111i7_cd bcio\\':
$3`500 (`_`.hapter 13 Caso hli\/ll\/l 3500

\pplieations for compensation 111171$1111: l71|7ed i770771 all fees over and above the C171717u77t s guidelines l`oi Fompensa|fion

l l l- ."l_Iil‘.lA;Ll\/l E,l\’ll)jf,SF C l_ l Ii_l‘_`»__l) (l` l . A! |Vl .S

A. SFCURFD _(_`__l_ AI_M_S_: l:] NONE£
[Retain l.iens _pt_us1717ai717t77 to ll U S77(7_7`.. \\` l325 7(711)(75)} Moitc¢1ge(s)ll 101107171|7€€€1|071 l7'7’e7r:7307nal Pimr.ity

ll Cl€d'l@'- Fay ‘:`>erviciri}_r

 

Add"¢~‘>`$: 3000 Kl-`ll“"'=l.\` D"~ 519 |SU /\rrearu_oc" |’u_\'o|`l`on l’etition l)auc

("m‘mlm|i" TX 75(}06 Ml\/ll\i'l`l’l’ l`einporar_\‘ l’u)menl 217_77_.7- 33383.7`1 77 7 1111)111|1(1\l0uihs l 111 "1117 1
past 4 [)Mits Oi~ Ml\/ll\'l l‘l‘l‘ l’ermancnt l’a_\ ment 777 lil_tl7?'i:~ltl inionlh (l\lnnlhs -lll 111 ltl
Account l;l11.: ____” W72“331‘§77 _ _

Other:

1.1",111.1\_»1_11)'3'111 " 11111- 1 iii i"

CaSe 15_22602'RBR Dgtqu§t(ps): l!_El~l.\ei;l \1Q/elQ/tl1§'\ ll?lQ/Qezpfll' (`use nuntht'r, ll i-E',’.oti“,

 

ll Real Property Chee|\' one below t`or Reul l’roperty:
[iil’i'ilteipal liesidenee llll",serow is included in the regular payments
l_:'_]()ther Real l’roperty ["]'i`he clel)tor(s] Will payr l 'itztxes l'rlinsuranee tiit'et;t:§

Address ot`Collatera|:
ofl/lZ l~`ranl\'lin Street, Ploll}-'wood` lil, 33024

l:| Persona| Propertyf\/chi¢;l¢

 

l)eseription oi`Collateral:

 

 

B- ML\_LLJ.ATJQML),F,CO__l_tl_¢_A'i`i‘lR/\ltr iii NONF.

C. LIEN /\\_/_Qll)Al\i(_:_E iii N()T\ll:,

D. SIJRREN_DER Q]_'*_`__(_:_O___I .l_,_ATER/\L: Seeured claims liied by an_\' creditor granted stay relle.l" in thisl section shall not ret:eii .~ .'
distribution tom the Chapter 13 'l`rustee.

@ NONF. t
F.. _l_)__IRF.QI yle l\{l__F_l§lfl_`_S`_: Seeuretl claims ti|ed hj»' any creditor granted sta_v relief in this section shall not reeei\'e a distribution
l`om the Chapter 13 Tt'ustee.

[i§] NONF,
Iv. IB_E_AUENT_QL;_L;`_tib:s /\_N_I;__izlti§)RiI}' (‘.IA,IMS las defined m i t use §507 and l l use § iszzi'a)ift)|
,\. AD,I,\'I.!.NI_SIB_AT_I__\LEI_F_I;?_FS OTH,QB,TH;\N DI?.BTQRS(S}'_ ATTORNF\"S F.F._F.: li] Nt')i\ui
B. tNIE_i;igAji_r{_Ey_t;pq_tt_p; si€l»lvt(`l§: iii NONI€
C. i)oi\/n~i_s_'_ri_e____s_ul’£QRT t)BI,lGA_TioN(s_): iii Nt')t\u€
D_ ()THF_Rz il NoNt-i

 

V- IB_E/§TMENI,QF lll.\l_\$.l‘i(`l‘lll?l) N()NRR_!()RIT‘!’ (iIKEDIT()llS

A. l’av _ _d$lS§.|l nw ,"iuouth {lvlontlts | to.`)_*)_ )

l’a)-' SZ;S‘!.").:`)L§“___ i"month (l'\/lonths 1_() lov/i[l_ )

 

 

l’ro rata dividend will l)e calculated hy the 'l`rustee tlpon review ol" filed claims alter bar dute. 1
B, @_`| li`eheel\'ed_ the [)el)lorts) n ill amend-modify to pay |t)()"/u to al| allowed unsecured nonprii.)rity elaiins.
C- §lil.’/.\MIZ_LY §`JMS,EFH~.`,D: [i| NONE
*Debtorts] certify the separate elassil`ieation{s) oi`the elaintts`) listed above v.'ill not prejudice other unsecured nonpriorit)
et'editors pursuant to l l li.-S.(_`. § l_“)?.l

Vl. Nl~`_._X__lr`._(`._UTOIi_t_YM(`r(v)rl';l”LIV{AQIS ANI) 1iN_EX_l?I_Rlil}_L_E_/§SE.S: Seeured claims filed by any eredilor»’|essor granted st:i_\ reliet` in tl.j\
section shall not receive a distribution l`rom the Chapter 13 vl`rustee.

NONE
Vll. Il_\l_(:QMETAX RVI<`.VTURNS _Al'\ll) R_F.FUNI)S: m N{)Nl".
@ l)ehtor(s) \vill not provide ta_\' returns unless requested by an_\' interested party pursuant to l l U.S.(,`. § 52 l.

Vlll. rl§{Ql§l;ST/\Wl\ll),/;\,RI) l)l__»f\__l§l_ l_’__R()VlSl()NS ij NONF.

[j l\Ionstaiulard provisions must he set forth helovr. A nonstz.tndard provision is a provision not otherwise included in the l.oe;il
Form or deviating l"rom it. Noustandard provisions set out elsewhere in this plan are void

E| l\/lort§_lu§e l\/lodii`leation l`\/letliution

l.l'-.`\l i're ltJ-_`\ l'.') l‘.l;'_e 1 ol"l

l,|~}| tte\ 1(]`3

."|`.')

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l)el Jtor(s): Rosst esu_s_i\' __'l_’Pc__te (`asc numht:r: ld~,“_f!otl.?

l "fbe debtor has filed a Verilied l‘\/lotion t"or Rei`crral to Mlvil\/I \-.'ith:

BSlF_inancialServiees f 11 ` __ _ w 7 f `_ _ f _ _ __ __w n ("i.cudcr")

loan ruimbcl ‘)s$'i _ __ t
t`o11ea| p1o)1.11v located 111 o t t2 t 11111|\|111 iiueet_ lit_)ll\. 1_i1_)otl _~l l >St)'l-l

'i`hc parties shall timely comply \vith all requirements oi`thc Ordcr ot`Refcrral to l\/ilvii\d and all Administrativc (`ercr:: l_ocal
Rules regarding Mi\/[l\/l. While the l\/[Ml\/l is pending and until tltct1'ial1'i111e1'im payment plan or the permanent nutritia;:_v
moditicati011/permanent payment is established by the parties. absent (.`ourt order to the contraty_ the debtor has included a 1111 '
petition monthiy plan payment (a} vvith respect to the debtor`s homestead of no less than the lower oi`the prepetition monthly
contractual mortgage payment or 3|%1)i`the debtor`s gross monthly income (after deducting any amount paid toward llt).-\ :`
due for the property) and (b) With respect to income producing property. of no less than 75% oi'tbe gross income ;'_cnerateti in
such property_ as a good faith adequate protection payment to the tender ,-\ll payments Ltital| be considered timely upon rcrcu\r

'\'1,1

   

by the trustee and not upon receipt by the lender

Until the i\/[i\/il\/i is completed and the Final lieport oi`l\iortt_ta;;e i\/loditication Mcdiator is tiled, any objection to the lenders
proofol"claim on the real property described above shall be held in abeyance as to the regular payment and mortgage 111'1'1::11'.\.:11‘
stated in the proot`ofclaim only Thc debtor shail assert any and all other objections to the proof ot`elaim prior 111 continuation
ot` the plan or modified pian.

lf the debtor co-obli§jor"co~borrovt-'er or other third partv t_ifapplieabl ci and the lender agree to a settiement as a result 1)1`1|11l
pending l'\/il\/ll\i the debtoi Wi|l ii le the l\/livll\/l l ocal Foun ‘i-`, x Patte i\/lotion to ./\ppro\e l\/lottt_ta;_;e lvloduication \;)1'e1t111_.1
with l,cndei" (ot Scll- -Replesented t)cbtor s l\/[otion to /\ppiove h/io111_;aa1. identification /\tueement \\ ith l.cudt.1111o latei- -.1
14 calendar days followingl settlement ()nce the settlement is approved by the (.`oul'L the debtor shall iuunediatcij ;1111e1..| or
modify the plan to reflect the settlement and the lender shall amend its l’1'1)1)i`1)f`(_f|11i111 11) relieet the settlement ;1 1 applic_.t)
lt`a settlement is reached after the plan is confirmed the debtor will tile a motion to modify the plan no later than itt calcu:i_:=
days following approval ot`tlie settlement by the {`ourt and the l.entler shall have leave to amend its l’1'oot`1)l`(`lai1'n to rctle-_i
the settlement reached after continuation ofthe plan. The parties Will then timely comply with any and all reouirement;:
necessary to complete the settlement

in the event the debtor receives any financial benetit from the lender as part of any agreementl the debtor shall immediately
disclose the financial benefit to the L,`ourt and the trustee and amend or modify the plan z.1ccordi111;ly.

litho lender and the debtor fail to reach a settlement1 then no later than t-'t calendar days after the medi:uor`s l-`in;.| l{epta'1
filed the debtor will amend or modify the plan to (a`) conform to the lender`s l-“roofot`{`,`laim (ifthc lender has tilcd a l’ruut .n
(`,iainti without limiting the l)ebtor`s right to object to the claim or proceed with a motion to valuc; or ibi provide that 1|11l 1'1_-,1§
property will be "treated outside the plan." li`the property is "trcated outside the p|an_" the lender will be entitled to in rem lta;
relief to pursue available state court remedies against the propertyl Nt')twitltstandin_t; the i`orcgoin§;. lender may tile a motion 111
contirm that the automatic stay is not in effect as to the real propertyl

Confirznation ot`tiie plan will be without prejudice to the assertion 1)i`1111)'1‘it;l1tstl1e lender has to address payment o|` its l’rt-.oi`
ol" C!aim.

|‘uec 1 o|'-t 5

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l]eblor{s] l{osst ease 1111111l11:1'. l_"i~?_f‘.t)ll.i,

PR()PF,RTV UF TIlI". F.STATF. WILI. VRST IN 'Fl{E DEBT()R(S) UP()N l’l,/*\N C(}NFIRIV|AT[()N.

l declare that the foregoing chapter 13 plan is true and correct under penalty ofper_itu'_\'_

 

1s“Rossi E Valdes Debtoi 1013/2013 is/ lesus l\l l etc/. Joint l)cbtoi 111 g jt_…\
Rossi l-`, Valdcs bmc lestis N l‘ere? ])“[“`
rs l{ica_ttl_t_)£,_ott)111r_t_l;smt1 7 _ lllfll»§€)_[__§l____ __ __

\ttoiney 11ith pcimission to si§'n on Date

Debtot(s) behalf
By fililw this document, the Attor’ncy l`ot I)cbtol'($) t)l' l)ebtt)i(S), il not 1"e[11esente1l by counsel cei tifies that the 11111 dinU and

otch of the provisions in this Chaptel 13 plan ate identical to those contained in local Form (`_` haplci 13 l’lan and the 'plnn
contains no nonstandard pio\isions othei than those set out in pa:au,raph Vlll.

l.l -.il tre\' |U‘,`o=l?l l’a;te -l ol`l'l

